Case 3:08-cr-30155-CJP        Document 22       Filed 03/17/10     Page 1 of 1      Page ID #27




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS


UNITED STATES OF AMERICA,                                  )
                                                           )
              Plaintiff,                                   )
                                                           )
       -vs-                                                )       NO. 08-30155-CJP
                                                           )
BRIAN POTTER and SAMUEL POTTER,                            )
                                                           )
                                                           )
              Defendants.                                  )



                           JUDGMENT IN A CRIMINAL CASE

       IT IS HEREBY ORDERED AND ADJUDGED that this case is dismissed in accordance

with Orders entered by United States Magistrate Judge Clifford J. Proud, on May 15, 2009, (Doc.

15) and March 8, 2010, (Doc. 21).

       DATED this 17th day of March, 2010

                                                    NANCY J. ROSENSTENGEL, CLERK

                                                    BY: S/ Angela Vehlewald
                                                           Deputy Clerk

Approved by       S/ Clifford J. Proud
              United States Magistrate Judge
                     Clifford J. Proud




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